      Case: 1:17-cv-07250 Document #: 1 Filed: 10/06/17 Page 1 of 6 PageID #:1



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

HAROLD PRICE,                       )
                                    )
                        Plaintiff,  )
                                    )
            v.                      )                  No. 17 cv 7250
                                    )
NORTHEAST ILLINOIS REGIONAL         )
COMMUTER RAILROAD CORPORATION )
(d/b/a METRA), and METRA POLICE     )
OFFICER THOMAS BABUSCH,             )
                                    )
                        Defendants. )

                                            COMPLAINT

       NOW COMES the Plaintiff, HAROLD PRICE, by and through counsel, SAMUELS &

ASSOCIATES, LTD. and FLANAGAN INJURY LAW GROUP, LLC., complaining of the defendants,

NORTHEAST ILLINOIS REGIONAL COMMUTER RAILROAD CORPORATION (d/b/a

METRA) and METRA POLICE OFFICER THOMAS BABUSCH, states as follows:

                                        INTRODUCTION

       This is a civil action seeking damages against the defendants for committing acts under

color of law, and depriving Plaintiff of his rights secured by the Constitution and laws of the

United States.

                                         JURISDICTION

1.     This action is brought pursuant to the Civil Rights Act, 42 U.S.C. § 1983, and the Fourth

       and Fourteenth Amendments to the United States Constitution. The jurisdiction of this

       Court is invoked pursuant to the judicial code 28 U.S.C. § 1331 and 1343 (a); the

       Constitution of the United States.

2.     Pendent jurisdiction as provided under U.S.C. § 1367(a).


                                                  1
     Case: 1:17-cv-07250 Document #: 1 Filed: 10/06/17 Page 2 of 6 PageID #:2



                                         PARTIES

3.   PLAINTIFF HAROLD PRICE is a citizen of the United States of America, who, at all

     times relevant, resided in Cook County, Illinois.

4.   DEFENDANT OFFICER THOMAS BABUSCH (“Defendant Officer”) was, at the time

     of this occurrence, a duly licensed Metra Police Officer. He engaged in the conduct

     complained of in the course and scope of his employment and under color of law. He is

     sued in his individual capacity.

5.   DEFENDANT NORTHEAST ILLINOIS REGIONAL COMMUTER RAILROAD

     CORPORATION (“METRA”) is a municipal corporation duly incorporated under the

     laws of the State of Illinois, and is the employer and principal of Defendant Officer.

                                           FACTS

6.   On or around October 9, 2015, Plaintiff HAROLD PRICE was on his way to pick up his

     then 10-year-old daughter from Central Park Elementary in Midlothian.

7.   As he was on his way, he was pulled over by Defendant Officer for an alleged traffic

     violation.

8.   Defendant Officer used excessive force against Plaintiff HAROLD PRICE. At the time,

     Plaintiff HAROLD PRICE was employed as a truck driver with Venture Logistics. The

     force used against Plaintiff was objectively unreasonable.

9.   Plaintiff HAROLD PRICE was then arrested by Defendant Officer. Plaintiff’s arrest was

     made without a warrant. Immediately before he was arrested by the Defendant Officer,

     Plaintiff was not violating any laws, rules, or ordinances. As the Plaintiff was being

     arrested, he was not violating any laws, rules, or ordinances. There was no probable cause

     or justification for the arrest of Plaintiff HAROLD PRICE on October 9, 2015.



                                              2
       Case: 1:17-cv-07250 Document #: 1 Filed: 10/06/17 Page 3 of 6 PageID #:3



10.    After arresting Plaintiff, Defendant Officer commenced criminal proceedings against

       Plaintiff. There was no probable cause or legal justification to commence criminal

       proceedings against the Plaintiff.

11.    At the time that Plaintiff was arrested, Defendant Officer knew that there was no

       probable cause or legal justification to arrest the Plaintiff.

12.    The acts of Defendant Officer were intentional, willful and wanton.

13.    As a direct and proximate result of the unlawful actions of the defendants, Plaintiff was

       injured, including physical injuries, pain and suffering, humiliation, embarrassment, fear,

       emotional trauma, mental anguish, the deprivation of their constitutional rights and

       dignity, interference with a normal life, lost time, and attorneys’ fees.

                         COUNT I: 42 U.S.C. § 1983 – Excessive Force
                                Against Defendant Officer

14.    Plaintiff re-alleges the above paragraphs as though fully set forth herein.

15.    The actions of the Defendant Officer constituted unreasonable, unjustifiable, and

       excessive force against Plaintiff, thus violating his rights under the Fourth Amendment to

       the Constitution of the United States and 42 U.S.C. §1983.

16.    As a direct and proximate result of the above-detailed actions of the defendants, Plaintiff

       was injured, including severe pain, physical injury, mental suffering, anguish and

       humiliation, emotional distress, and fear.

       WHEREFORE the Plaintiff, HAROLD PRICE, purusant to 42 U.S.C. §1983, demands

judgment against Defendant Officer for compensatory damages, punitive damages, the costs of

this action and attorneys’ fees, and any such other and further relief as this Court deems

equitable and just.




                                                  3
       Case: 1:17-cv-07250 Document #: 1 Filed: 10/06/17 Page 4 of 6 PageID #:4



                          COUNT II: 42 U.S.C. § 1983 – False Arrest
                                Against Defendant Officer

17.    Plaintiff realleges each of the foregoing paragraphs as if fully set forth here.

18.    The actions of Defendant Officer, described above, knowingly caused Plaintiff to be

       arrested and imprisoned without probable cause or any other justification, constituted a

       deliberate indifference to Plaintiff’s right under U.S. Constitution in violation of the

       Fourth and Fourteenth Amendment.

19.    As a proximate result of the above-detailed actions, Plaintiff was injured, including the

       deprivation of his liberty and the taking of his person. In addition, the violations

       proximately caused Plaintiffs mental anguish, embarrassment, and humiliation, exposed

       him to public scandal and disgrace, and caused him to incur various expenses, including

       but not limited to attorneys’ fees, all to Plaintiff’s damages.

       WHEREFORE the Plaintiff, HAROLD PRICE purusant to 42 U.S.C. §1983, demands

judgment against Defendant Officer for compensatory damages, punitive damages, the costs of

this action and attorneys’ fees, and any such other and further relief as this Court deems

equitable and just.

                      COUNT III: 745 ILCS 10/9-102 – Indemnification
                                Against Defendant Metra

20.    Plaintiffs reallege each of the foregoing paragraphs as if fully set forth here.

21.    Defendant Metra is the employer of the Defendant Officer.

22.    Defendant Officer committed the acts alleged above under color of law and in the scope

       of her employment as an employee of Metra.

       WHEREFORE the Plaintiff, HAROLD PRICE, demands that, should Defendant Officer

be found liable on one or more of the claims set forth above, pursuant to 745 ILCS 10/9-102, the



                                                  4
      Case: 1:17-cv-07250 Document #: 1 Filed: 10/06/17 Page 5 of 6 PageID #:5



Defendant METRA be found liable for any judgment Plaintiffs obtain, as well as attorney’s fees

and costs awarded.

                     COUNT IV: Malicious Prosecution (State Law Claim)
                                 Against All Defendants

23.    Plaintiff realleges each of the foregoing paragraphs as if fully set forth here.

24.    By the actions detailed above, Defendant Officer knowingly sought to and did in fact

       maliciously prosecute Plaintiff on false charges for which he knew there was no probable

       cause.

25.    Defendant Metra is sued in this Count pursuant to the doctrine of respondeat superior, in

       that Defendant Officer performed the actions complained of while on duty and/or in the

       employ of Defendant Metra, and while acting within the scope of this employment.

26.    As a direct and proximate result of the malicious prosecution, Plaintiff was damaged,

       including the value of their lost liberty, exposure to public scandal and disgrace, damage

       to their reputation, mental and emotional suffering, humiliation, embarrassment, and

       anguish.

       WHEREFORE the Plaintiff, HAROLD PRICE demands judgment against the

defendants, Defendant Officer and Defendant Metra, for compensatory damages, punitive

damages, the costs of this action and attorneys’ fees, and any such other and further relief as this

Court deems equitable and just.




                                                  5
    Case: 1:17-cv-07250 Document #: 1 Filed: 10/06/17 Page 6 of 6 PageID #:6



PLAINTIFF DEMANDS TRIAL BY JURY.

                                           Respectfully Submitted,
                                           HAROLD PRICE


                                     By:   s/ L. Michael Flanagan
                                                   One of Plaintiff’s Attorneys

                                           L. Michael Flanagan
                                           Flanagan Injury Law Group, LLC
                                           1525 E. 53rd Street, #832
                                           T: 773-789-8529
                                           E: Michael@windycityinjury.com


                                           Jeanette Samuels
                                           SAMUELS & ASSOCIATES, LTD.
                                           3440 S. Cottage Grove, #504
                                           Chicago, IL 60616
                                           T: 872-588-8726
                                           E: sam@jsamlaw.com




                                       6
